          Case 1:18-cv-00665-LY Document 53 Filed 05/14/19 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

FRESENIUS KABI USA, LLC AND                   §
FRESENIUS KABI DEUTSCHLAND                    §
GMBH,                                         §
                PLAINTIFFS,                   §
                                              §
V.                                            §       CAUSE NO. A-18-CV-00665-LY
                                              §
CUSTOPHARM, INC.,                             §
               DEFENDANT.                     §


                                            ORDER

       Before the court is Defendant Custopharm, Inc.'s Motion for Leave to File Its Answer,

Defenses and Amended Counterclaims with Exhibits under Seal filed May 1, 2019 (Clerk's

Document No. 40).

       Only in the rarest of circumstances will this court allow pleadings to be filed in sealed or

redacted form with the complete pleading filed under seal. Attorneys should be adept enough

pleaders to avoid the stating of confidential or privileged matters within the body of a pleading.

Exhibits to pleadings may be filed under seal with proper leave of court. Therefore,

       IT IS ORDERED that Defendant Custopharm, Inc.'s Motion for Leave to File Its Answer,

Defenses and Amended Counterclaims with Exhibits under Seal filed May            1,   2019 (Clerk's

Document No. 40) is DENIED WITHOUT PREJUDICE. Custopharm may file a redrafted

answer, defenses, and amended counterclaims and may seek leave to file under seal exhibits that

contain confidential information.

       SIGNED this                  day of May, 201




                                             UNI ED STAT SDIS
